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                                                                            1:21-mj-3162-TMP


                                            AFFIDAVIT

      I, David Gardner, a Special Agent with the Federal Bureau of Investigation (FBI),
Cleveland Division, being duly sworn, depose and state as follows:

1.    Affiant has been a Special Agent with the FBI for 22 years, stationed in Greensboro, North
Carolina, Budapest, Hungary, and Cleveland and Sandusky, Ohio, and has received training at
the FBI Academy in Quantico, Virginia. Affiant has conducted investigations that led to
successful prosecutions involving child exploitation, fraud, federal drug and firearms laws, and
crimes of violence. Affiant is currently assigned to the Sandusky Resident Agency of the FBI,
which is responsible for investigating federal matters in Erie, Huron, Ottawa, Sandusky, and
Seneca County, Ohio. Affiant has a Bachelor’s and Master’s degree in accounting and business
administration and worked in those fields for five years before becoming an FBI agent.

2.    I am a Special Agent for the FBI, and as such, I am an investigative or law enforcement
officer of the United States within the meaning of Rule 41(a)(2)(C) of the Federal Rules of
Criminal Procedure. Affiant is engaged in the enforcement of criminal laws and is within a
category of officers authorized by the Attorney General to request and execute search warrants
pursuant to Title 18 U.S.C. §§ 3052 and 3107; and DOJ regulations set forth at Title 28 C.F.R.
§§ 0.85 and 60.2(a).

3.    I am investigating the illegal possession of firearms and the possession of a machine gun by
James Earl Thompson (hereafter “Thompson”). As will be shown below, there is probable cause
to believe that Thompson, while in the Northern District of Ohio, possessed ammunition and
firearms in violation of 18 U.S.C. § 922(g)(3), possession of a firearm by an unlawful user or
individual addicted to controlled substance, and further possessed a firearm defined as a machine
gun in violation of Title 18, U.S.C. § 922(o), possession of a machine gun. I am submitting this
affidavit in support of an arrest warrant authorizing the arrest of James Earl Thompson, in the
Northern District of Ohio, Eastern Division.

4.    Affiant is the co-case agent on this investigation and, as such, is fully familiar with the
facts of the case, either as the result of direct personal participation in the investigation, or from
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verbal or written reports provided to me by other FBI agents or law enforcement officers who
have participated in the investigation. In that regard, unless otherwise noted, wherever in this
Affidavit Affiant asserts that a statement was made, the information was provided to Affiant by
another FBI agent, law enforcement officer, or witness who may have had either direct or
hearsay knowledge of that statement and to whom Affiant or others have spoken or whose
reports Affiant has read and reviewed. Such statements are set forth in this Affidavit in
substance or in pertinent part unless otherwise indicated. Furthermore, since this Affidavit is
being submitted for the limited purpose of securing a criminal complaint, Affiant has not
included the details of every aspect of the investigation. In so doing, Affiant notes that facts not
set forth herein are not being relied on by Affiant in connection with this criminal complaint
request.

                                    RELEVANT STATUTES

5.   This Complaint involves violations of the following statutes:

           a. 18 U.S.C. § 922(g)(3), states that it shall be unlawful for any person who is an
               unlawful user of or addicted to any controlled substance (as defined in section 102
               of the Controlled Substances Act (21 U.S.C. 802)) to ship or transport in interstate
               or foreign commerce, or possess in or affecting commerce,
               any firearm or ammunition; or to receive any firearm or ammunition which has
               been shipped or transported in interstate or foreign commerce.

           b. 18 U.S.C. § 922(o) it shall be unlawful for any person to transfer or possess
               a machinegun. A machinegun is defined as The term ‘'machine gun'' means any
               weapon which shoots, is designed to shoot, or can be readily restored to shoot,
               automatically more than one shot, without manual reloading, by a single function
               of the trigger.
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                                       PROBABLE CAUSE

6.   On May 9, 2021, a Vermilion Police officer (VPD) responded to a report of a suspicious
male attempting to enter a Jeep near Grand Street and Liberty Avenue. The officer conducted a
traffic stop of a black GMC Sonoma truck driven by a man matching the description of callers
and identified the driver as Thompson. During the stop, the officer found that Thompson had no
driver’s license, was using fictitious plates on the vehicle, and had a warrant for his arrest issued
as the result of a child support case. When the officer asked Thompson to exit the vehicle,
Thompson told the officer that he was a sovereign citizen and did not need a license. The officer
asked Thompson again to exit the vehicle, but Thompson refused and fled in his vehicle,
initiating a traffic pursuit west towards the Vermilion County Club. Thompson disregarded the
order or signal of an officer and continued his flight in the vehicle with the officer chasing him.
It was raining at the time of the pursuit.

7.   On May 9, 2021, Thompson wrecked the black GMC Sonoma near the Vermilion County
Club Golf Course and officers observed Thompson run away on foot armed with a handgun in
his right hand. Although officers arrived and formed a search team with an assisting K9 unit
from the Erie County Sheriff’s Office, the pursuit was unsuccessful and Thompson eluded
officers through the woods. The VPD then inventoried and towed the involved vehicle.

8.   On May 9, 2021, during the inventory of the black GMC Somona, several items were
located and collected as evidence. A black tactical body armor vest, a green tactical backpack
containing survival gear and 9mm and 12-gauge ammunition. A green metal ammo can
containing four fully loaded AK-47 type magazines loaded with 7.62 ammunition. A black
duffle bag loaded with numerous boxes of 9mm. 6.5 Creedmoor, and 12-gauge ammunition. A
black Samsung smart phone was also located inside the vehicle and collected as evidence.

9.   On May 9, 2021, the numerous boxes of ammunition were specifically determined to be the
following: two boxes which hold 50 rounds each of 9mm Luger ammunition manufactured by
Blazer Ammunition; two boxes which hold 25 rounds of Federal “game load” 12-gauge; one box
which holds approximately five rounds of Remington Nitro Turkey 12-gauge; two boxes which
hold approximately 20 rounds of Winchester 6.5 Creedmoor; one box which holds
approximately 20 rounds of Federal premium 6.5 Creedmoor; one box which holds
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approximately 20 rounds of of Winchester 6.5 Creedmoor; one box which holds approximately
twenty rounds of Hornady 6.5 Creedmoor. Affiant knows that these manufactures are not
located in Ohio and therefore the ammunition was manufactured outside of Ohio.

10.   On the previous day, on May 8, 2021, a VPD officer responded to a South Shore Ct.
residence for the report of a disturbance involving Thompson. The complainant in that incident
advised the VPD officer that she had observed numerous firearms and boxes of ammunition
inside of Room #10 at the Motel Plaza earlier in the day. The complainant is an employee of the
Motel Plaza as a maid and was working at the motel earlier in the day. The complainant also has
children with Thompson. The complainant stated that at approximately 10:00 a.m., on May 8,
2021, she observed her son in room #10 along with Thompson, who was unconscious on the bed
from narcotics use. The complainant then took custody of the child and took him home. While
taking custody of the child, the complainant took a picture of a bag in the room that contained
ammunition. She also advised that she observed a pistol in the room on a table. The
complainant provided the VPD officer with the photograph that she had taken inside the room,
which was recorded on VPD body camera.

11.   From May 10, 2021, to May 17, 2021, VPD Det. Sgt. Scott Holmes has spoken with the
complainant. On numerous occasions, complainant has advised that Thompson is currently
using methamphetamine. The complainant states that she believed that Thompson was “methed
out” and passed out on the bed unresponsive when she found him on May 8, 2021 in the hotel
room. The complainant was able to identify an individual who she believed was selling
methamphetamine to Thompson. Finally, the complainant also stated that a relative of told her
that Thompson had not really done anything that wrong but that he was making bad decisions
and just needed to “clean up.”

12.   On May 9, 2021, VPD officers confirmed that Thompson has been residing at the Motel
Plaza in room # 10, 4645 Liberty Avenue, Erie County, Vermilion, Ohio, since April 23, 2021.
It was confirmed via Motel Plaza management that Thompson paid his rental fee through May
14, 2021.
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13.   Thompson was previously convicted of Breaking and entering, a fifth-degree felony and
possession of drugs, a fifth-degree felony, on April 30, 2012, in Erie County Common Pleas
Court.

14.   On May 10, 2021, based upon the information above, VPD Det. Sgt. Holmes secured a
search warrant for Room # 10 at the Motel Plaza and the Samsung cellular telephone found in
the GMC Sonoma truck. The search warrant was signed by Vermilion Municipal Court Judge
Zack Dolyk. In executing that warrant, VPD found a rifle case on the floor and a military “sea
bag” was propped up against the wall. A military style ballistic helmet was on the desk. An
AK-47 type rifle with a loaded magazine inserted into the well of the firearm and a round
chambered was located lying in plain view on the top of the bed was. Further inspection by
officers noted that the firearm appeared to be modified to allow it to fire continuously with a
single trigger pull making it a fully automatic firearm. Inside the gun case on the floor was a 12-
gauge shotgun loaded with seven 00-buck shells. The “sea bag” contained a spotting scope,
green rifle plate body armor tactical vest, black pistol belt with gun holster, electronic ear-muffs,
military style gas mask, wool blanket, and a large machete.

15.   On May 10, 2021, the AK-47 type rifle that appeared to be modified to allow it fire
continuously with a single trigger pull was determined to be a Romarm/Cugir Arms Co. Draco
7.62 X 39 AK-47 type rifle. It was also determined that the shotgun was a Model 916 Smith and
Wesson 12-gauge shotgun. Affiant knows that neither of these firearms are manufactured in the
State of Ohio and traveled in interstate commerce.

16.   On May 12, 2021, the ensuing search of the Samsung cellular telephone recovered by VPD
in Thompson’s abandoned GMC Sonoma revealed the phone was Thompson’s phone. As set
forth above, search warrants for Room # 10 at the Motel Plaza and the Samsung cellular
telephone were authorized by Judge Dolyk on May 10, 2021. This Affiant’s judicially
authorized extraction and analysis of Thompson’s recovered cell phone found two videos which
appear to have been taken by Thompson. Those two videos, taken from ground level, appear to
show Thompson firing the AK-47 type rifle recovered during the search of the Motel Plaza
room. The videos also show Thompson firing several rounds with a single pull of the trigger.
Accordingly, the recovered videos appear to confirm the VPD officer’s assessment that the
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weapon had been modified to a fully-automatic firearm. Additional photos on the phone show
more firearms including two (2) 6.5 Creedmoor rifles.

                                         CONCLUSION

17.   Based on the aforementioned factual information, your affiant respectfully submits that
there is probable cause to believe that James Earl Thompson has possessed ammunition and
firearms in violation of 18 U.S.C. § 922(g)(3), possession of a firearm by an unlawful user or
individual addicted to controlled substance, and further possessed a firearm defined as a machine
gun in violation of Title 18, U.S.C. § 922(o), possession of a machine gun. Therefore, I am
submitting this affidavit in support of an arrest warrant authorizing the arrest of James Earl
Thompson.




                                                      __________________________
                                                      David Gardner
                                                      Special Agent
                                                      Federal Bureau of Investigation




                                                                          2:03 PM, May 19, 2021
